     Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 1 of 46




                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT



145 SISSON AVENUE, LLC

                   PLAINTIFF                          CIVIL ACTION NO.:

V.                                                    3:23-CV-00903-MPS

ARON PURETZ

                   DEFENDANT
                                                      AUGUST 12, 2024


                   MOTION FOR AN ORDER OF COMPLIANCE

       Pursuant to FRCP 37 (a) (1) and FRCP (a) (3) (B) (iii),

Plaintiff 145 Sisson Avenue, LLC moves for an order of

compliance against the following entities for the following

reasons:

       1.    Plaintiff issued the standard post-judgment

interrogatories on June 18, 2024 to each of the third-party

entities sent via priority mail as follows:

               Name                                       Exhibit#
               Asylum Hill Apt LLC                           1
               Clemens Manager LLC*                          2
               Clemens Place CT Limited Partnership          3
               Hoyt Bedford Limited Partnership              4
               Hoyt Bedford Manager LLC                      5
               PAXE Garden GP LLC*                           6
               PAXE Garden Limited Partnership               7
      Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 2 of 46




           2.        Each of the third-party entities received the post-

judgment interrogatories as evidenced by the USPS tracking

record (attached as part of each Exhibit).

           3.        The two entities referred to with an asterisk

 (Clemens Manager LLC and PAXE Garden GP LLC) did not receive

the post-judgment interrogatories because the address they

gave New Jersey was apparently incomplete (or the agent for

service of process moved). The post-judgment interrogatories

were returned marked "insufficient address."

           4.        The post-judgment interrogatories to Clemens Place

CT Limited Partnership are still (after a month) showing as

"moving through the network."                                     This main has not been

returned.              Either its delivery was not noted on the USPS

website or it has been lost.

           5.        Plaintiff received no response to the standard post-

judgment interrogatories, even though more than 30 days have

passed.

           6.        No objections are allowed to the standard post-

judgment interrogatories because they were drafted by the

Connecticut Judicial Department.

           7.        A copy of this motion has been served on the seven

(7) third-parties as noted in the certificate of service.

          Therefore, the motion for an order of compliance should

be granted and each of the seven (7) third-parties should be
                            - 2 -
G:\2433 Constitution Credit LLC\007 South Green Prtfolio v. Paxe Sisson CT Lmtd Partnership loan\Federal-145 Sisson Guranty
action\ 145 Sisson v. Guarantor MFOC re entities 2024-08-07.doc
      Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 3 of 46




ordered to answer the standard post-judgment interrogatories

forthwith on a




                                           --- -        fl-P-1:1t rram- :t                  s-~
                                           Cou sel for Plai_                                4-s--s-isson Avenue,

                                          J>)-R - & PAULEKAS, LLP
                                   ~       280 Trumbull Street - Suite 2200
                                           Hartford, CT 06103
                                           Direct: (860) 808-4213
                                           Mobile: (860) 543-4372
                                           Fax: (860) 249-7500
                                           Email: PTL@HPLowry.com
                                           Federal Bar# CT05955


                                           CERTIFICATE OF SERVICE

     I hereby certify that a copy of the attached was mailed
on this 12 th day of August, 2024 to:

Aron Puretz
43 Fenway Circle
Staten Island, New York 10308-1240

Aron Puretz
11 Forest Drive
Lakewood, NJ 08701

ASYLUM HILL APT LLC
Agent: VCORP SERVICES, LLC
67 Burnside Avenue
East Hartford, CT, 06108

CLEMENS Manager, LLC
Agent: David Helfgott
36 Airport Road
Lakewood, NJ 08701

CLEMENS PLACE CT LIMITED PARTNERSHIP
526 Westchester Road
Colchester, CT 06415-2228

                                                            -    3 -
G:\2433 Constitution Credit LLC\007 South Green Prtfolio v. Paxe Sisson CT Lmtd Partnership loan\Federal-145 Sisson Guranty
action\145 Sisson v. Guarantor MFOC re entities 2024-08-07.doc
      Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 4 of 46




Hoyt Bedford Limited Partnership
Agent: Riverside Filings LLC
28 Crystal Street
Wethersfield, CT, 06109

Hoyt Bedford Manager LLC
Agent: VCORP SERVICES, LLC
108 W. 13TH STREET-SUITE 100
WILMINGTON, DE 19801

PAXE GARDEN GP LLC
Agent: David Helfgott
36 Airport Road
Lakewood, NJ 08701

PAXE GARDEN LIMITED PARTNERSHIP
Agent: Riverside Filings LLC
28 Crystal Street
Wethersfield, CT, 06109




                                                            - 4 -
G:\2433 Constitution Credit LLC\007 South Green Prtfolio v. Paxe Sisson CT Lmtd Partnership loan\Federal-145 Sisson Guranty
action\145 Sisson v. Guarantor MFOC re entities 2024-08-07.doc
Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 5 of 46




   EXHIBIT 1
                     Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 6 of 46
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         ALERT: FLOODING AND SEVERE WEATHER IN THE SOUTHEAST U.S. MAY IMPACT DELIVERY. ...


                                                                                                        FAQs>
    USPS Tracking®



                                                                                                    Remove X
    Tracking Number:

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          Copy           Add to Informed Delivery (https://informeddelivery.usps.com/)




          Latest Update
         Your item was delivered in or at the mailbox at 2:02 pm on June 24, 2024 in EAST HARTFORD, CT 06108.


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         EAST HARTFORD, CT 06108
         June 24, 2024, 2:02 pm

         See All Tracking History

     What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)



       Text & Email Updates                                                                              V



       USPS Tracking Plus®                                                                               V



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   Track Another Package
                       Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 7 of 46

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                                                                                                          RECEIPT LABEL (ROLL) or call 1-800-222•1811.


POST JUDGMENT REMEDIES                                               STATE OF CONNECTICUT
INTERROGATORIES                                                         SUPERIOR COURT
JD-CV-23 Rev. 11-10                                                       www.jud.ct.gov
Gen. Stal.§§ 52-321a, 52-351b, 52-352b,
52·_361a, 52-361b, 52-400a, 52-400c
                                                            Form JD-CV~23a must be attached to this form
         . .       •   H   .             eograph1cal                                                                         Docket number
     JudIcIa 1          ous,ng         Area
~ District         O Session O number                           Al   US District Court of Connecticut                        3:23-CV-00903-MPS
Address or court (Number, street, /own, and zip code)
450 Main Street, Suite A012, Hartford, CT 06103
Date of judgment                                                     Original amount or judgment                            Amount due on the judgment
04/25/2024
Name of creditor (Person or business judgment is for)
                                                                      $2,152,787.36
                                                                     Address or judgment creditor (Streel and town)
                                                                                                                           I   $2,152,787.36

145 Sisson Avenue, LLC                                               91 South Main Street, Wallingford, CT 06492
Name or judgment debtor (Person or business judgment is against)     Address or judgment debtor (Street and fown)
Aron Puretz                                                          43 Fenway Circle, .Staten Island, NY 10308-1240
Name and address or person believed lo have assets or Judgment debtor (If applicable)
Asylum Hill Apt LLC • Agent: VCORP Services, LLC, 67 Burnside Avenue, East Hartford, CT 06108
Date inlerrogatories were served (Delivered)    Name and address or person that interrogatories must be returned to
06/18/2024 fltP)                                Houston Putnam Lowry, Esq., 280 Trumbull Street, Floor 22, Hartford, CT 06103
               '-·
Instructions To:
 Judgment Creditor:
 Put an "X" in the box next to the questions to be answered on form JD-CV-23a that is attached to this form.
 Person who received interrogatories:
Answer the _questions indicated by an "X'' on form JD-CV-23a that is attached to this form. You must give information that you have about the assets of the
judgment debtor up to an amount clear enough to satisfy the judgment indicated by the "Amount due on the judgment" above. Place your answers in the
 space provided on the form. If you need more space to answer the questions, use the space on the back of form JD-CV-23a or attach additional sheets to
this form.

Notice
Do not file the interrogatories, the notice of interrogatories or the objections to the interrogatories with the court.
The person who received these interrogatories must answer and return them within 30 days of the date of their service
(delivery) to the person named above.
If the person who received these interrogatories does not answer and return them within 30 days or does not within 30 days
disclose assets of the judgment debtor that are enough for execution, or if the person who received the interrogatories objects
within 30 days, the judgment creditor may ask the court for additional discovery orders that may be necessary to make sure
that disclosure is made including (1) an order for compliance with the interrogatories or (2) an order authorizing additional
interrogatories. The judgment creditor may ask for and get discovery, including the taking of depositions, from any person
served with interrogatories under the procedures for discovery in civil actions without the court ordering it. The court may
order additional discovery as justice requires. If the person asked for discovery does not disclose the judgment debtor's
assets, that person may be held in contempt of court. Attorney's fees may be allowed for counsel at a contempt hearing
necessary to enforce a court order and for counsel at any discovery hearing required because these interrogatories were not
answered.

Notice Of Rights To Person Served
1. Under Section 52-351 b of the General Statutes, you must disclose information about the amount, nature and location of
   the judgment debtor's assets up to an amount clearly enough in value for full satisfaction of the judgment with interest and
   costs .
2. Under subsection (d) of Section 52-351 b of the General Statutes, any party who must disclose information about the
   judgment debtor's assets may apply to the court to be protected from annoyance, embarrassment, oppression or undue
   burden or expense.
3. Certain personal property of the judgment debtor is exempt from execution (cannot be used to satisfy judgment). The
   following list is a description of common types of property that are exempt from execution from a judgment debtor who is
   a natural person. (Section 52-352b of the General Statutes).
     (a) Apparel, bedding, foodstuffs, household furniture and appliances that are needed by the judgment debtor to live;
     (b) Tools, books, instruments, farm animals and livestock feed that are needed by the judgment debtor in the course
         of his or her occupation, or profession, farming operation or farming partnership;
     (c) Public assistance payments and any wages earned by a public assistance recipient under an incentive earnings
         or similar program;
                                                                         (Continued on page 2)
                     Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 8 of 46




        (d) Health and disability insurance payments;
        (e) Health aids that are needed by the judgment debtor to work or to keep healthy;
                        1
        (f)   Vv'orker s compensation , social secudty, veterans and unemployment behefits;
        (g) Court approved payments for child support;
        (h) Arms (weapons) and military equipment, uniforms or musical instruments owned by any member of the militia or
              armed forces of the United States;
        (i) One motor vehicle worth up to $3,500.00. The value of the motor vehicle must be determined as the fair market
             value of the motor vehicle minus the amount of all liens and security interests which are on it;
        U) Wedding and engagement rings ;
        (k) Residential utility deposits for one residence and one residential security deposit;
        (I) Any assets or interests of a judgment debtor in , or payments received by the judgment debtor from, a plan or
             arrangement described in Section 52-321a of the General Statutes, including, but not limited to, certain trust or
             retirement income or certain retirement, education, or medical savings accounts;
       (m) Alimony and support, other than child support, but only to the extent that wages are exempt from execution under
             Section 52-361 a of the General Statutes;
       (n) An award under a crime reparations act;
       (o) All benefits allowed by any association of persons in this state to support any of its members that are
             incapacitated by sickness or infirmity from attending to his or her usual business;
       (p) All moneys that are owed to the judgment debtor from any insurance company on any insurance policy on
             exempt property, up to the same amount that the property was exempt;
       (q) Burial plot for the judgment debtor and his or her immediate family;
       (r) Transfers of money that cannot be taken back (revoked) to an account held by a debt adjuster licensed under
             Sections 36a-655 to 36a-665 of the General Statutes for the benefit of creditors of the judgment debtor;
       (s) Any interest of the judgment debtor in any property worth not more than $1,000.00;
       (t) Any interest of the judgment debtor worth not more than $4,000.00 in any accrued dividend or interest under, or
            loan value of, any unmatured life insurance contract owned by the judgment debtor under which the insured is
            the judgment debtor or is an individual who the judgment debtor is a dependent of; and
       (u) The homestead (home) of the judgment debtor worth not more than $75,000.00, or, in the case of a money
            judgment arising out of services provided at a hospital worth not more than $125,000.00, the value must be
            determined as the fair market value of the real property minus the amount of any statutory or agreed on
            (consensual) lien which is on the property.




JD-C V-23 Re v. 11- 10 (Page 2 of 2)
                   Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 9 of 46



                                                                      INSTRUCTIONS
 JUDGMENT CREDITOR: Complete Name of Case and Docket No., pul an "X" in lhe box nexl lo [he items lo be answered.
 PERSON SERVED WITH INTERROGATORIES: Answer lhe questions indicaled by [KJ . You mus( disclose assets of [he judgment debtor up lo an
 amount clearly sufficient lo satisfy the judgment indicated by the "Amount Due Thereon" on lhe attached form JD-CV-23. Place answers in space provided on
 this form . If you need more room to answer lhese questions, use the space on page 2 of allached form JD-CV-23 or attach addilional sheets. You mus I
 answer the questions and return them lo the person named on allached form JD-CV-23 within thirty days of the dale of service.

  NAME OF CASE                                                                                                        ·DOCKET NO.
  145 Sisson Avenue, LLC vs. Aron Puretz                                                                              3:23CV903(MPS)

                                                               I. JUDGMENT DEBTOR
      STATE YOUR NAME, ADDRESS , AND TELEPHONE NO.

□
     ~-------------------------------------------------'
D Are you presently employed?                   D NO               D YES (If yes, complete the information below)
      NAME, ADDRESS, AND TELEPHONE NO. OF YOUR EMPLOYER


     YOUR JOB TITLE OR POSITION


     NAME, ADDRESS OF EACH BOOKKEEPER , PAYROLL CLERK OR OTHER PERSON HAVING RECORDS OF SALARIES OR OTHER SUMS OF MONEY PAID TO YOU
     BY YOUR PRESENT EMPLOYER



     IF YOU RECEIVE ADDITIONAL COMPENSATION FOR OVERTIME , STATE (1) RATE OF OVERTIME PAY AND (2)THE AVERAGE NO. OF HOURS OF OVERTIME YOU
     WORK PER WEEK



     STATE THE DATE ON WHICH YOU ARE PAID FOR BOTH REGULAR AND OVERTIME WORK



      Are you receiving any income from any source not                                       D YES (If yes, complete the infonnation below)
□     disclosed in your answers to the foregoing questions?
                                                                             0 NO
     STATE THE SOURCE(S) OF SUCH INCOME                                                                         IAMOUNT RECEIVED EACH WEEK


     IF THERE ARE ANY PAYMENTS DUE FROM THE ABOVE SOURCE STATE (1) THE AMOUNT DUE AND (2) NAME AND ADDRESS OF PARTY FROM WHOM IT IS DUE




□     List all banks, savings and loan associations, credit unions or other financial institutions in which you maintain an account
      of any kind, giving in your answer the following : (You need only disclose assets clearly sufficient to ensure full satisfaction
      of the judgment with interest and costs.)
     NAME AND ADDRESS OF INSTITUTION                                             NAME AND ADDRESS OF INSTITUTION


     NAME IN WHICH ACCOUNT IS HELD                                               NAME IN WHICH ACCOUNT IS HELD


    ACCOUNT NO.                          I      ,
                                          PRESENT BALANCE (S)                    ACCOUNT NO.                         I PRESENT BALANCE (SJ


    IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)                    IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)




□     List all nonexempt personal property in which you have an interest, whether legal or beneficial, which in total value is clearly sufficient to
      ensure full satisfaction of the judgment with interest and costs, including but not limited to (a) cash on hand, (b) household goods and
      supplies and furnishings , (c) stamp and/or coin collections and other collections, (d) wearing apparel, (e) jeweiry, (f) watches, (g)
      automobiles, (h) trucks, (i) trailers or other motor vehicles , (j) boats, motors and accessories. As to each such item of property give the
      precise description and location, the approximate value of such property and whether or not such property is subject to any form of
      security interest, lien or encumbrance . If so, state the name and address of such holder of a security interest, lien or encumbrance, the
      nature of the instrument evidencing the same and the amount of the instrument. (If additional space is necessary, a/lach a separate
      sheet to this form.)




□    State whether any of your nonexempt personal property is in the hands of a third person. If so, describe the property involved, the
     person or persons so holding the property, the reason tl1e property is so held and any consideration that may have passed therefor.




JD-CV-23a (Page 1 of 2) Rev. G-2000                                                                                              www.jud.state.ct.us
                 Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 10 of 46



 D List all real estate in your name which in total value is clearly sufficient to ensure full satisfaction of the judgment with
      interest and costs (where possible give street address).




 D List your accounts receivable which in total value are clearly sufficient to ensure full satisfaction of the judgment with
      interest and costs giving a) the name of the party, b) the amount owed, and c) the date the debt was incurred. (If additional
      space is needed, attach a separate sheet to this form.)




                                                               II. EMPLOYER
 D Is the Judgment Debtor employed by you?                 D NO             O YES (If yes, complete the information below)
     YOUR NAME, ADDRESS, AND TELEPHONE NO.


     EMPLOYEE'S NORMAL WORKING HOURS                                    IEMPLOYEE'S GROSS SALARY PER HOUR, WEEK, MONTH, OR YEAR


     THE DATES ON WHICH EMPLOYEE IS PAID FOR BOTH .REGULAR AND OVERTIME WORK


     NAME, ADDRESS, AND TELEPHONE NO . OF THE BOOKKEEPER, PAYROLL CLERK OR OTHER PERSON WHO DISBURSES EMPLOYEE'S WAGES OR SALARY




                                               Ill. FINANCIAL INSTITUTION
0     Does the Judgment Debtor maintain an account of any kind with your institution?             D NO           □ YES
     (If yes, complete the information below. You may disclose only whether you hold funds of the judgment debtor on account and the
     balance of such funds if so held, up lo the amount necessary to satisfy the judgment.)
    YOUR NAME, ADDRESS, AND TELEPHONE NO.


    NAME, ADDRESS, AND TELEPHONE NO. OF YOUR INSTITUTION


    ACCOUNT NO. OF EACH ACCOUNT                                        INAME IN WHICH THE ACCOUNT IS HELO


    PRESENT BALANCE IN EACH ACCOUNT


    IF JOINT ACCOUNT , THE NAME AND ADDRESS OF THE OTHER PERSON(S)



                              IV. THIRD PERSON IN POSSESSION OF JUDGMENT DEBTOR'S PROPERTY
[8] Are you in possession of nonexempt personal property belonging to the judgment debtor?                  O NO               0 YES
      (If yes, complete the following information.)                                       •
    YOUR NAME, ADDRESS, AND TELEPHONE NO.


    DESCRIBE THE PROPERTY, THE REASON YOU ARE HOLDING IT AND ANY CONSIDERATION THAT MAY HAVE PASSED FOR YOUR HOLDING THE PROPERTY .




    LOCATION OF THE PROPERTY



                          V. SIGNATURE OF PERSON COMPLETING THIS FORM OR AUTHORIZED AGENT
[x] NOTE : Interrogatories served on a judgment debtor shall be signed by such debtor under penalty of false statement.
    SIGNED (Person completing form or au/hon·zed agenl)   PRINT NAME OF PERSON SIGNING AT LEFT                 D/.ITE SIGNED



    JD-CV-23a (Page 2 or 2) Rev. G-2000
Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 11 of 46




    EXHIBIT 2
                                       Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 12 of 46




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                                                                                            CLEMENS MANAGER LLC
                                                                                            Agent : David Helfgott




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                                                                                            36 Airport Road
                                                                                            Lakewood, NJ 08701
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                     Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 13 of 46

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POST JUDGMENT REMEDIES                                              ST ATE O.F CONNECTICUT
INTERROGATORIES                                                         SUPERIOR COURT
JD-CV-23 Rev. 11-10                                                       www.jud.ct.gov
Gen. Stat. §§ 52-321 a, 52-351 b, 52-352b,
52-361a, 52-361b, 52-400a, 52-400c
                                                            Forni JD-CV-23a must be attached io this form
                 .     H .                eographical                                                                        Docket number
     Judicial           ousIng          Area
 [Kl District        D Session D number                         At US District Court of Connecticut                          3:23-CV-00903 -MPS
Address or court (Number, street, town, and zip code}
450 Main Street, Suite A012, Hartford, CT 06103
Dale of judgment                                                     Original amount or judgment                             Amount due on the judgment
 04/25/2024
Name ot creditor (Person or business judgment is for}
                                                                      $2,152,787.36
                                                                     Address of judgment creditor (Street and town}
                                                                                                                           I   $2,152,787.36

145 Sisson Avenue, LLC                                               91 South Main Street, Wallingford, CT 06492
Name or judgment debtor (Person or business judgment is against}     Address or judgment debtor (Street and /own}
Aron Puretz                                                          43 Fenway Circle, Staten Island, NY 10308-1240
Name and address or person believed to have assets of judgment debtor (II applicable)
Clemens Manager LLC - Agent: David Helfgott, 36 Airport Road, Lakewood, NJ 08701
Date interrogatories were served (Delivered)    Name and address of person that interrogatories must be returned lo
06/18/2024 Ft)                                  Houston Putnam Lowry, Esq., 280 Trumbull Street, Floor 22, Hartford, CT 06103

Instructions To:
 Judgment Creditor:
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space provided on the form. If you need more space to answer tile questions, use the space on the back of form JD-CV-23a or attach additional sheets lo
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that disclosure is made including (1) an order for compliance with the interrogatories or (2) an order authorizing additional
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served with interrogatories under the procedures for discovery in civil actions without the court ordering it. The court may
order additional discovery as justice requires. If the person asked for discovery does not disclose the judgment debtor's
assets, that person may be held in contempt of court. Attorney's fees may be allowed for counsel at a contempt hearing
necessary to enforce a court order and for counsel at any discovery hearing required because these interrogatories were not
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Notice Of Rights To Person Served
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   the judgment debtor's assets up to an amount clearly enough in value for full satisfaction of the judgment with interest and
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2. Under subsection (d) of Section 52-351 b of the General Statutes, any party who must disclose information about the
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3. Certain personal property of the judgment debtor is exempt from execution (cannot be used to satisfy judgment). The
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     (b) Tools, books, instruments, farm animals and livestock feed that are needed by the judgment debtor in the course
         of his or her occupation, or profession, farming operation or farming partnership;
     (c) Public assistance payments and any wages earned by a public assistance recipient under an incentive earnings
         or similar program;
                                                                         (Continued on page 2)
                   Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 14 of 46




        (d) Health and disability insurance payments;
        (e) Health aids that are needed by the judgment debtor to work or to keep healthy;
        (fJ Wo,ker's compensation, sociai secu,ity, veterans and unempioy'rnent benefits;
        (g) Court approved payments for child support;
        (h) Arms (weapons) and military equipment, uniforms or musical instruments owned by any member of the militia or
              armed forces of the United States;
        (i) One motor vehicle worth up to $3,500.00. The value of the motor vehicle must be determined as the fair market
             value of the motor vehicle minus the amount of all liens and security interests which are on it;
        U) Wedding and engagement rings;
        (k) Residential utility deposits for one residence and one residential security deposit;
        (I) Any assets or interests of a judgment debtor in , or payments received by the judgment debtor from, a plan or
             arrangement described in Section 52-321a of the General Statutes, including, but not limited to , certain trust or
             retirement income or certain retirement, education, or medical savings accounts;
       (m) Alimony and support, other than child support, but only to the extent that wages are exempt from execution under
             Section 52-361 a of the General Statutes;
       (n) An award under a crime reparations act;
       (o) All benefits allowed by any association of persons in this state to support any of its members that are
             incapacitated by sickness or infirmity from attending to his or her usual business;
       (p) All moneys that are owed to the judgment debtor from any insurance company on any insurance policy on
             exempt property, up to the same amount that the property was exempt;
       (q) Burial plot for the judgment debtor and his or her immediate family;
       (r) Transfers of money that cannot be taken back (revoked) to an account held by a debt adjuster licensed under
             Sections 36a-655 to 36a-665 of the General Statutes for the benefit of creditors of the judgment debtor;
       (s) Any interest of the judgment debtor in any property worth not more than $1,000.00;
       (t) Any interest of the judgment debtor worth not more than $4,000.00 in any accrued dividend or interest under, or
            loan value of, any unmatured life insurance contract owned by the judgment debtor under which the insured is
            the judgment debtor or is an individual who the judgment debtor is a dependent of; and
       (u) The homestead (home) of the judgment debtor worth not more than $75,000.00, or, in the case of a money
            judgment arising out of services provided at a hospital worth not more than $125,000.00, the value must be
            determined as the fair market value of the real property minus the amount of any statutory or agreed on
            (consensual) lien which is on the property.




JD-CV-2 3 Rev. 11 -1 0 (Page 2 of 2)
                   Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 15 of 46




                                                                      INSTRUCTIONS
 JUDGMENT CREDITOR: Complete Name of Case and Docket No., pul an "X" in the box next lo the items to be answered.
 PERSON SERVED WITH INTERROGATORIES: Answer lhe questions indicated by Ix] . You must disclose assets of the judgment debtor up to an
 amount clearly sufficient lo satisfy the judgment indicated by lhe "Amount Due Thereon" on the attached form JD-CV-23. Place answers in space provided on
 !his form . If you need more room lo answer these questions, use the space on page 2 of attached form JD-CV-23 or all ach additional sheets. You must
 answer the questions and return them to the person named on attached form JD-CV-23 within thirty days of the dale of service.

    NAME OF CASE                                                                                                      DOCKET NO.
    145 Sisson Avenue, LLC vs . Aron Puretz                                                                           3:23CV903(MPS)

                                                               I. JUDGMENT DEBTOR
       STATE YOUR NAME, ADDRESS, AND TELEPHONE NO.

0
      ~--------------------------------------------------'
D Are you presently employed?                   0 NO               D YES (If yes, complete the information below)
      NAME, ADDRESS, AND TELEPHONE NO. OF YOUR EMPLOYER


      YOUR JOB TITLE OR POSITION


      NAME, ADDRESS OF EACH BOOKKEEPER, PAYROLL CLERK OR OTHER PERSON HAVING RECORDS OF SALARIES OR OTHER SUMS OF MONEY PAID TO YOU
      BY YOUR PRESENT EMPLOYER



      IF YOU RECEIVE ADDITIONAL COMPENSATION FOR OVERTIME, STATE (1) RATE OF OVERTIME PAY AND (2) THE AVERAGE NO. OF HOURS OF OVERTIME YOU
      WORK PER WEEK



      STATE THE DATE ON WHICH YOU ARE PAID FOR BOTH REGULAR AND OVERTIME WORK



       Are you receiving any income from any source not
□      disclosed in your answers to the foregoing questions?
                                                                             0 NO            0 YES (If yes, complete the information below)
      STATE THE SOURCE(S) OF SUCH INCOME                                                                        IAMOUNT RECEIVED EACH WEEK


      IF THERE ARE ANY PAYMENTS DUE FROM THE ABOVE SOURCE STATE (1) THE AMOUNT DUE AND (2) NAME AND ADDRESS OF PARTY FROM WHOM IT IS DUE




□      List all banks, savings and loan associations, credit unions or other financial institutions in which you maintain an account
       of any kind, giving in your answer the following : (You need only disclose assets clearly sufficient to ensure full satisfaction
       of the judgment with interest and costs.)
      NAME AND ADDRESS OF INSTITUTION                                            NAME AND ADDRESS OF INSTITUTION


      NAME IN WHICH ACCOUNT IS HELD                                              NAME IN WHICH ACCOUNT IS HELD


      ACCOUNT NO.                        I      ,
                                          PRESENT BALANCE {S)                    ACCOUNT NO.                         IPRESENT BALANCE (S)


      IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)                  IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON($)




□     List all nonexempt personal property in which you have an interest, whether legal or beneficial, which in total value is clearly sufficient to
      ensure full satisfaction of the judgment with interest and costs, including but not limited to (a) cash on hand, (b) household goods and
      supplies and furnishings, (c) stamp and/or coin collections and other collections, (d) wearing apparel, (e) jeweiry, (f) watches, (g)
      automobiles, (h) trucks, (i) trailers or other motor vehicles, (j) boats, motors and accessories. As to each such item of property give the
      precise description and location, the approximate value of such property and whether or not such property is subject to any form of
      security interest, lien or encumbrance . If so, stale the name and address of such holder of a security interest, lien or encumbrance, the
      nature of the instrument evidencing the same and the amount of the instrument. (If additional space is necessary, attach a separate
      sheet to this form.)




□     State whether any of your nonexempt personal properly is in the hands of a third person . If so, describe the property involved, the
      person or persons so holding the property, the reason the properly is so held and any consideration that may have passed therefor.




JD-CV-23a (Page 1 of 2) Rev. 0·2000                                                                                             www.jud.slate.cf. us
                  Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 16 of 46



 D List all real estate in your name which in total value is clearly sufficient to ensure full satisfaction of the judgment with
      interest and costs (where possible give street address).




 D List your accounts receivable which in total value are clearly sufficient to ensure full satisfaction of the judgment with
      interest and costs giving a) the name of the party, b) the amount owed, and c) the date the debt was incurred. (If additional
      space is needed, attach a separate sheet to this form.)




                                                                II. EMPLOYER
 D Is the Judgment Debtor employed by you?                  D NO             D YES (If yes, complete the information below)
     YOUR NAME. ADDRESS, AND TELEPHONE NO.


     EMPLOYEE'S NORMAL WORKING HOURS                                     IEMPLOYEE'S GROSS SALARY PER HOUR, WEEK, MONTH, OR YEAR


     THE DATES ON WHICH EMPLOYEE IS PAID FOR BOTH REGULAR AND OVERTIME WORK


     NAME, ADDRESS, AND TELEPHONE NO. OF THE BOOKKEEPER, PAYROLL CLERK OR OTHER PERSON WHO DISBURSES EMPLOYEE'S WAGES OR SALARY




                                               Ill. FINANCIAL INSTITUTION
D     Does the Judgment Debtor maintain an account of any kind with your institution?             0 NO           □ YES
     (If yes, complete the information below. You may disclose only whether you hold funds of the judgment debtor on account and the
     balance of such funds if so held, up to the amount necessary to satisfy the judgment.)
    YOUR NAME, ADDRESS, AND TELEPHONE NO.


    NAME, ADDRESS, AND TELEPHONE NO . OF YOUR INSTITUTION


    ACCOUNT NO. OF EACH ACCOUNT                                         INAME IN WHICH THE ACCOUNT IS HELD


    PRESENT BALANCE IN EACH ACCOUNT


    IF JOINT ACCOUNT, THE NAME AND ADDRESS OF THE OTHER PERSON(S)



                               IV. THIRD PERSON IN POSSESSION OF JUDGMENT DEBTOR'S PROPERTY
181 Are you in possession of nonexempt personal property belonging to the judgment debtor?                   D NO            0 YES
      (If yes, complete the following information.)                                        •
    YOUR NAME, ADDRESS, AND TELEPHONE NO .


    DESCRIBE THE PROPERTY, THE REASON YOU ARE HOLDING IT AND ANY CONSIDERATION THAT MAY HAVE PASSED FOR YOUR HOLDING THE PROPERTY .




    LOCATION OF THE PROPERTY



                           V. SIGNATURE OF PERSON COMPLETING THIS FORM OR AUTHORIZED AGENT
[Kl NOTE: Interrogatories served on a judgment debtor shall be signed by such debtor under penalty of false statement.
    SIGNED (Person comp/cling form or au/hon'zcd age11/)   PRINT NAME OF PERSON SIGNING AT LEFT                DATE SIGNED



    JD-CV-23a (P~gc 2 of 2) Rev. G-2000
Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 17 of 46




    EXHIBIT 3
                       Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 18 of 46
8/7/24 , 4:40 PM                                          USPS.com® - USPS Tracking® Results

          ALERT: FLOODING AND SEVERE WEATHER IN THE SOUTHEAST U.S. MAY IMPACT DELIVERY....


                                                                                                                 FAQs>
    USPS Tracking®



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           Latest Update

           Your package is moving within the USPS network and is on track to be delivered to its final destination. It
           is currently in transit to the next facility.

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           Moving Through Network
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           July 1, 2024


     •     Departed USPS Regional Facility
           HARTFORD CT DISTRIBUTION CENTER
           June 27, 2024, 8:45 pm


    •      See All Tracking History



        What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)



         Text & Email Updates                                                                                      V



         Delivery Instructions                                                                                     V



         USPS Tracking Plus®                                                                                       V
                     Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 19 of 46

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                                                                                               RECEIPT LABEL (ROLL) or call 1-B00-222-1811.

 POST JUDGMENT REMEDIES                                               STATE OF CONNECTICUT
 INTERROGATORIES                                                         SUPERIOR COURT
 JD-CV-23 Rev. 11-10                                                       www.jud.ct.gov
 Gen. Slat.§§ 5;!-321a, 52-351b, 52-352b,
 52-361a, 52-361b, 52-400a, 52-400c
                                                             Form JD-CV-23a must be attached to this form

     .       . .           .           . Geograph1ca •                                                                        Dockel number
         Jud1c1al      Housing           Area
 IB] District       D Session D number                           At   US District Court of Connecticut                        3:23-CV-00903-MPS
 Address of court {Number, street, town, and zip code)
 450 Main Street, Suite A012, Hartford, CT 06103
 Dale of judgmenl                                                     Original amount of judgmenl                             Amount due on the judgmenl
 04/25/2024
 Name of credilor (Person or business judgment is for)
                                                                       $2,152,787.36
                                                                      Address of judgmenl creditor (Street and town)
                                                                                                                            I   $2,152,787.36

 145 Sisson Avenue, LLC                                               91 South Main Street, Wallingford, CT 06492
 Name of judgment deblor {Person or business judgment is against)     Address of judgment debtor {Street and town)
 Aron Puretz                                                          43 Fenway Circle, Staten Island, NY 10308-1240
 Name and address or person believed to have assets of judgment debtor {If applicable)
 Clemens Place CT limited Partnership, 526 Westchester Road, Colchester, CT 06415-2228
 Dale inlerrogalories were served {Delivered)    Name and address of person lhal inlerrogalories must be returned to
 06/18/2024 ('l~                                 Houston Putnam Lowry, Esq., 280 Trumbull Street, Floor 22, Hartford, CT 06103

 Instructions To:
  Judgment Creditor:
  Put an 'X" in the box next to the questions to be answered on form JD-CV-23a that is attached to this form.
  Person who received interrogatories:
 Answer the questions indicated by an 'X" on form JO-CV-23a that is attached to this form. You must give information that you have about the assets of/he
 judgment debtor up to an amount clear enough to satisfy the judgment indicated by the ''Amount due on the judgment" above. Place your answers in the
 space provided on the form . If you need more space to answer the questions, use the space on the back of form JD-CV-23a or attach additional sheets to
 this form .

 Notice
 Do not file the interrogatories, the notice of interrogatories or the objections to the interrogatories with the court.
 The person who received these interrogatories must answer and return them within 30 days of the date of their service
 (delivery) to the person named above.
 If the person who received these interrogatories does not answer and return them within 30 days or does not within 30 days
 disclose assets of the judgment debtor that are enough for execution, or if the person who received the interrogatories objects
 within 30 days, the judgment creditor may ask the court for additional discovery orders that may be necessary to make sure
 that disclosure is made including (1) an order for compliance with the interrogatories or (2) an order authorizing additional
 interrogatories. The judgment creditor may ask for and get disc9very, including the taking of depositions, from any person
 served with interrogatories under the procedures for discovery in civil actions without the court ordering it. The court may
 order additional discovery as justice requires. If the person asked for discovery does not disclose the judgment debtor's
 assets, that person may be held in contempt of court. Attorney's fees may be allowed for counsel at a contempt hearing
 necessary to enforce a court order and for counsel at any discovery hearing required because these interrogatories were not
 answered.

• Notice Of Rights To Person Served
 1. Under Section 52-351 b of the General Statutes, you must disclose information about the amount, nature and location of
    the judgment debtor's assets up to an amount clearly enough in value for full satisfaction of the judgment with interest and
    costs .
2.       Under subsection (d) of Section 52-351 b of the General Statutes, any party who must disclose information about the
         judgment debtor's assets may apply to the court to be protected from annoyance, embarrassment, oppression or undue
         burden or expense.
3. Certain personal property of the judgment debtor is exempt from execution (cannot be used to satisfy judgment) . The
   following list is a description of common types of property that are exempt from execution from a judgment debtor who is
   a natural person . (Section 52-352b of the General Statutes) .
         (a) Apparel, bedding, foodstuffs, household furniture and appliances that are needed by the judgment debtor to live;
         (b) Tools , books, instruments, farm animals and livestock feed that are needed by the judgment debtor in the course
             of his or her occupation, or profession, farming operation or farming partnership;
         (c) Public assistance payments and any wages earned by a public assistance recipient under an incentive earnings
             or similar program ;
                                                                          (Continued 011 page 2)
                  Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 20 of 46




         (d) Health and disability insurance payments;
         (e) Health aids that are needed by the judgment debtor to work or to keep healthy;
         (f) Vvorker's compensation, sociai security, veterans and unemproyment benefits;
        (g) Court approved payments for child support;
        (h) Arms (weapons) and military equipment, uniforms or musical instruments owned by any member of the militia or
               armed forces of the United States;
        (i) One motor vehicle worth up to $3,500.00. The value of the motor vehicle must be determined as the fair market
               value of the motor vehicle minus the amount of all liens and security interests which are on it;
        0) Wedding and engagement rings;
        (k) Residential utility deposits for one residence and one residential security deposit;
        (I) Any assets or interests of a judgment debtor in, or payments received by the judgment debtor from, a plan or
               arrangement described in Secti9n 52-321 a of the General Statutes, including, but not limited to, certain trust or
               retirement income or certain retirement, education, or medical savings accounts;
        (m) Alimony and support, other than child support, but only to the extent that wages are exempt from execution under
               Section 52-361a of the General Statutes;
       (n) An award under a crime reparations act;
       (o) All benefits allowed by any association of persons in this state to support any of its members that are
              incapacitated by sickness or infirmity from attending to his or her usual ·business;
       (p) All moneys that are owed to the judgment debtor from any insurance company on any insurance policy on
              exempt property, up to the same amount that the property was exempt;
       (q) Burial plot for the judgment debtor and his or her immediate family;
       (r) Transfers of money that cannot be taken back (revoked) to an account held by a debt adjuster licensed under
              Sections 36a-655 to 36a-665 of the General Statutes for the benefit of creditors of the judgment debtor;
       (s) Any interest of the judgment debtor in any property worth not more than $1,000.00;
       (t) Any interest of the judgment debtor worth not more than $4,000.00 in any accrued dividend or interest under, or
              loan value of, any unmatured life insurance contract owned by the judgment debtor under which the insured is
             the judgment debtor or is an individual who the judgment debtor is a dependent of; and
       (u) The homestead (home) of the judgment debtor worth not more than $75,000.00, or, in the case of a money
             judgment arising out of services provided at a hospital worth not more than $125,000.00, the value must be
             determined as the fair market value of the real property minus the amount of any statutory or agreed on
             (consensual) lien which is on the property.




JD-CV-2J Rev. 11-10 (Page 2 of 2)
                  Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 21 of 46



                                                                      INSTRUCTIONS
 JUDGMENT CREDITOR: Complele Name of Case and Docket No., put an "X" in the box nexl to the Hems lo be answered.
 PERSON SERVED WITH INTERROGATORIES: Answer the questions indicated by [xi . You must disclose assets of the judgmenl debtor up to an
 amount clearly sufficient to satisfy the judgment indicated by the "Amount Due Thereon" on the attached form JD-CV-23. Place answers in space provided on
 this form. If you need more room to answer these questions, use the space on page 2 of atlached form JD-CV-23 or attach additional sheets. You must
 answer the questions and return them to the person named on atlached form JD-CV-23 within thirty days of the dale of service.

  NAME OF CASE                                                                                                        DOCKET NO.
  145 Sisson Avenue, LLC vs. Aron Puretz                                                                              3:23CV903(MPS)

                                                               I. JUDGMENT DEBTOR
      STATE YOUR NAME, ADDRESS, AND TELEPHONE NO.

□
  '---------------------------------------------------'
0 Are you presently employed? D NO 0 YES (If yes, complete the information below)
      NAME, ADDRESS, AND TELEPHONE NO. OF YOUR EMPLOYER


     YOUR JOB TITLE OR POSITION


     NAME, ADDRESS OF EACH BOOKKEEPER, PAYROLL CLERK OR OTHER PERSON HAVING RECORDS OF SALARIES OR OTHER SUMS OF MONEY PAID TO YOU
     BY YOUR PRESENT EMPLOYER



     IF YOU RECEIVE ADDITIONAL COMPENSATION FOR OVERTIME, STATE (1) RATE OF OVERTIME PAY ANO (2) THE AVERAGE NO. OF HOURS OF OVERTIME YOU
     WORI< PER WEEK



     STATE THE DATE ON WHICH YOU ARE PAID FOR BOTH REGULAR AND OVERTIME WORK



      Are you receiving any income from any source not
□     disclosed in your answers to the foregoing questions?                  0 NO           D YES (If yes, complete the information below)
     STATE THE SOURCE(S) OF SUCH INCOME                                                                         IAMOUNT RECEIVED EACH WEEK


     IF THERE ARE ANY PAYMENTS DUE FROM THE ABOVE SOURCE STATE (1) THE AMOUNT DUE AND (2) NAME AND ADDRESS OF PARTY FROM WHOM IT IS DUE




□     List all banks, savings and loan associations, credit unions or other financial institutions in which you maintain an account
      of any kind, giving in your answer the following: (You need only disclose assets clearly sufficient to ensure full satisfaction
      of t/Je judgment with interest and costs.)
     NAME AND ADDRESS OF INSTITUTION                                             NAME AND ADDRESS OF INSTITUTION


     NAME IN WHICH ACCOUNT IS HELD                                               NAME IN WHICH ACCOUNT IS HELD


    ACCOUNT NO .                         I      ,
                                          PRESENT BALANCE (S)                    ACCOUNT NO.                         I PRESENT BALANCE (S)


    IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)                    IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)




□     List all nonexempt personal property in which you have an interest, whether legal or beneficial, which in total value is clearly sufficient to
      ensure full satisfaction of the judgment with interest and costs, including but not limited to (a) cash on hand, (b) household goods and
      supplies and furnishings, (c) stamp and/or coin collections and other collections, (d) wearing apparel, (e) jeweiry, (f) watches, (g)
      automobiles, (h) trucks, (i) trailers or other motor vehicles, (j) boats, motors and accessories. As to each sucl1 item of property give the
      precise description and location, the approximate value of such property and whether or not such property is subject to any form of
      security interest, lien or encumbrance. If so, state the name and address of such holder of a security interest, lien or encumbrance, the
      nature of the instrument evidencing the same and the amount of the instrument. (If additional space is necessary, attach a separate
      sheet to this form.)




□    State whether any of your nonexempt personal property is in the hands of a third person . If so, describe the property involved, the
     person or persons so holding the property, the reason the property is so held and any consideration that may have passed therefor.




JD-CV-2Ja (Pago 1 of 2) Rev. G-2000                                                                                              www.jud. state. ct.us
                   Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 22 of 46




  0 List all real estate in your name which in total value is clearly sufficient to ensure full satisfaction of the judgment with
        interest and costs (where possible give street address).




 0      List your accounts receivable which in total value are clearly sufficient to ensure full satisfaction of the judgment with
        interest and costs giving a) the name of the party, b) the amount owed, and c) the date the debt was incurred. (If additional
        space is needed, allacl1 a separate sheet to this form.)




                                                                 II. EMPLOYER
 0      Is the Judgment Debtor employed by you?              0 NO             O YES (If yes, complete the information below)
      YOUR NAME, ADDRESS, AND TELEPHONE NO.


      EMPLOYEE'S NORMAL WORKING HOURS                                     IEMPLOYEE'S GROSS SALARY PE R HOUR, WEEK, MONTH, OR YEAR


      THE DATES ON WHICH EMPLOYEE IS PAID FOR BOTH .REGULAR AND OVERTIME WORK


      NAME, ADDRESS, AND TELEPHONE NO. OF THE BOOKKEEPER, PAYROLL CLERI< OR OTHER PERSON WHO DISBURSES EMPLOYEE'S WAGES OR SALARY




                                                Ill. FINANCIAL INSTITUTION
0      Does the Judgment Debtor maintain an account of any kind with your institution?              0 NO          □ YES
      (If yes, complete the information below. You may disclose only whether you hold funds of the judgment debtor on account and the
      balance of such funds if so held, up lo the amount necessary to satisfy the judgment.)
     YOUR NAME, ADDRESS, AND TELEPHONE NO.


     NAME, ADDRESS , AND TELEPHONE NO. OF YOUR INSTITUTION


     ACCOUNT NO . OF EACH ACCOUNT                                        INAME IN WHICH THE ACCOUNT IS HELD


     PRESENT BALANCE IN EACH ACCOUNT


     IF JOINT ACCOUNT, THE NAME AND ADDRESS OF THE OTHER PERSON(S)



                                IV. THIRD PERSON IN POSSESSION OF JUDGMENT DEBTOR'S PROPERTY
[8] Are you in possession of nonexempt personal property belonging to the judgment debtor?                    O NO              0 YES
       {If yes, complete the following information.)                                        •
     YOUR NAME, ADDRESS, AND TELEPHONE NO.


     DESCRIBE THE PROPERTY, THE REASON YOU ARE HOLDING IT AND ANY CONSIDERATION THAT MAY HAVE PASSED FOR YOUR HOLDING THE PROPERTY.




     LOCATION OF THE PROPERTY



                            V. SIGNATURE OF PERSON COMPLETING THIS FORM OR AUTHORIZED AGENT
[x] NOTE: Interrogatories served on a judgment debtor shall be signed by such debtor under penalty of false statement.
     SIGNED (Person completing form or ~ulhoriz ed agent)   PRINT NAME OF PERSON SIGNING AT LEFT                Di:ITE SIGNED



     JD-CV-2Ja (Page 2 al 2) Rev. G-2000
Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 23 of 46




    EXHIBIT4
                     Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 24 of 46
8/6/24, 1:56 PM                                        USPS.com® - USPS Tracking® Results

         ALERT: FLOODING AND SEVERE WEATHER IN THE SOUTHEAST U.S. MAY IMPACT DELIVERY....


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    USPS Tracking®



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         Latest Update

         Your item was delivered in or at the mailbox at 2:25 pm on June 29, 2024 in WETHERSFIELD, CT 06109.



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         See All Tracking History


     What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)



       Text & Email Updates                                                                              V



       USPS Tracking Plus®                                                                               V



       Product Information                                                                               V


                                                     See Less A

   Track Another Package
                   Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 25 of 46

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POST JUDGMENT REMEDIES                                              STATE OF CONNECTICUT
INTERROGATORIES                                                        SUPERIOR COURT
JD-CV-23 Rev. 11-10                                                      www.jud.ct.gov
Gen. Stat.§§ 52-321a. 52-351b, 52-352b,
52-361a, 52-361b, 52-400a, 52-400c
                                                            Form JD-CV-23a must be attached to this form
         . .         -        .         eograp ical                                                                          ·Docket number
     Jud1c1al            Housing       Area
~ Dislricl         D Session O number                           At US District Court of Connecticut                          3:23-CV-00903-MPS
Address or court (Number, street. /own, and zip code)
450 Main Street, Suite A012, Hartford, CT 06103
Date or judgment                                                     Original amount of judgment                             Amount due on the judgment
04/25/2024
Name or creditor (Person or business judgment is for}
                                                                      $2,152,787.36
                                                                     Address of judgment creditor (S(ree/ and /own}
                                                                                                                            I   $2,152,787.36

145 Sisson Avenue, LLC                                               91 South Main Street, Wallingford, CT 06492
Name of judgment debtor (Person or business judgment is against)     Address of judgment debtor (Street and (own)
Aron Puretz                                                          43 Fenway Circle, Staten Island, NY 10308-1240
Name and address or person believed to have assets or judgment debtor (If apphcab/e)
Hoyt Bedford Limited Partnership - Agent: Riverside Filings LLC, 28 Crystal Street, Wethersfield, CT 06109
Dale interrogatories were served (Delivered)    Name and address of person lhal interrogatories must be returned to
06/18/2024~)                                    Houston Putnam Lowry, Esq., 280 Trumbull Street, Floor 22, Hartford, CT 06103

Instructions To:
 Judgment Creditor:
Put an ''X" in the box next to the questions to be answered on fonn JD-CV-23a that is attached to this fonn.
Person who received interrogatories:
Answer the questions indicated by an ''X" on form JD-CV-23a I/Jal is attached lo this form. You must give information that you have about the assets of the
judgment debtor up to an amount clear enough to satisfy the judgment indicated by the "Amount due on the judgment" above. Place your answers in the
space provided on the form. If you need more space to answer the questions, use the space on the back of form JD-CV-23a or attach additional sheets to
this form.

Notice
Do not file the interrogatories, the notice of interrogatories or the objections to the interrogatories with the court.
The person who received these interrogatories must answer and return them within 30 days of the date of their service
(delivery) to the person named above.
If the person who received these interrogatories does not answer and return them within 30 days or does not within 30 days
disclose assets of the judgment debtor that are enough for execution, or if the person who received the interrogatories objects
within 30 days, the judgment creditor may ask the court for additional discovery orders that may be necessary to make sure
that disclosure is made including (1) an order for compliance with the interrogatories or (2) an order authorizing additional
interrogatories. The judgment creditor may ask for and get discovery, including the taking of depositions, from any person
served with interrogatories under the procedures for discovery in civil actions without the court ordering it. The court may
order additional discovery as justice requires. If the person asked for discovery does not disclose the judgment debtor's
assets, that person may be held in contempt of court. Attorney's fees may be allowed for counsel at a contempt hearing
necessary to enforce a court order and for counsel at any discovery hearing required because these interrogatories were not
answered.

Notice Of Rights To Person Served
1. Under Section 52-351 b of the General Statutes, you must disclose information about the amount, nature and location of
   the judgment debtor's assets up to an amount clearly enough in value for full satisfaction of the judgment with interest and
   costs.
2. Under subsection (d) of Section 52-351b of the General Statutes, any party who must disclose information about the
   judgment debtor's assets may apply to the court to be protected from annoyance, embarrassment, oppression or undue
   burden or expense.
3. Certain personal property of the judgment debtor is exempt from execution (cannot be used to satisfy judgment). The
   following list is a description of common types of property that are exempt from execution from a judgment debtor who is
   a natural person. (Section 52-352b of the General Statutes) .
     (a) Apparel, bedding, foodstuffs, household furniture and appliances that are needed by the judgment debtor lo live;
     (b) Tools, books, instruments, farm animals and livestock feed that are needed by the judgment debtor in the course
         of his or her occupation, or profession, farming operation or farming partnership;
     (c) Public assistance payments and any wages earned by a public assistance recipient under an incentive earnings
         or similar program;
                                                                         (Co11tinued 011 page 2)
                  Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 26 of 46




        (d) Health and disability insurance payments;
        (e) Health aids that are needed by the judgment debtor to work or to keep healthy;
       (f)   V\lorker's cornpensation, social security, Veterans 2nd unei-:-1p!oyrn~nt benefits;
        (g) Court approved payments for child support;
        (h) Arms (weapons) and military equipment, uniforms or musical instruments owned by any member of the militia or
              armed forces of the United States;
        (i) One motor vehicle worth up to $3,500.00. The value of the motor vehicle must be determined as the fair market
             value of the motor vehicle minus the amount of all liens and security interests which are on it;
        U) Wedding and engagement rings;
        (k) Residential utility deposits for one residence and one residential security deposit;
        (I) Any assets or interests of a judgment debtor in, or payments received by the judgment debtor from, a plan or
             arrangement described in Section 52-321 a of the General Statutes, including, but not limited to, certain trust or
             retirement income or certain retirement, education, or medical savings accounts:
       (m) Alimony and support, other than child support, but only to the extent that wages are exempt from execution under
             Section 52-361a of the General Statutes;
       (n) An award under a crime reparations act;
       (o) All benefits allowed by any association of persons in this state to support any of its members that are
             incapacitated by sickness or infirmity from attending to his or her usual business;
       (p) All moneys that are owed to the judgment debtor from any insurance company on any insurance policy on
            exempt property, up to the same amount that the property was exempt;
       (q) Burial plot for the judgment debtor and his or her immediate family;
       (r) Transfers of money that cannot be taken back (revoked) to an account held by a debt adjuster licensed under
            Sections 36a-655 to 36a-665 of the General Statutes for the benefit of creditors of the judgment debtor;
       (s) Any interest of the judgment debtor in any property worth not more than $1,000.00;
       (t) Any interest of the judgment debtor worth not more than $4,000.00 in any accrued dividend or interest under, or
            loan value of, any unmatured life insurance contract owned by the judgment debtor under which the insured is
            the judgment debtor or is an individual who the judgment debtor is a dependent of; and
       (u) The homestead (home) of the judgment debtor worth not more than $75,000.00, or, in the case of a money
            judgment arising out of services provided at a hospital worth not more than $125,000.00, the value must be
            determined as the fair market value of the real property minus the amount of any statutory or agreed on
            (consensual) lien which is on the property.




JD-CV-23 Rev. 11-10 (Page 2 of 2)
                  Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 27 of 46



                                                                      INSTRUCTIONS
 JUDGMENT CREDITOR: Complete Name or Case and Docket No., put an "X" in the box next lo the items to be answered.
 PERSON SERVED WITH INTERROGATORIES: Answer the questions indicated by [Kl . You must disclose assets of the judgment debtor up to an
 amount clearly sufficient to satisfy the judgment indicated by the "Amount Due Thereon" on lhe atlached form JD-CV-23. Place answers in space provided on
 I.his form. If you need more room _lo answer these queslions, use the space on page 2 of atlached f.orm JD-CV-23 or attach addilional sheets. You must
 answer the questions and return them to the person named on atlached form JD-CV-23 within thirty days of the dale or service.

 NAME OF CASE                                                                                                         DOCKET NO.
  145 Sisson Avenue, LLC vs. Aron Puretz                                                                              3 :23CV903(MPS)

                                                               I. JUDGMENT DEBTOR
      STATE YOUR NAME. ADDRESS. AND TELEPHONE NO.

□
     ~-----------------------------------------------~
D Are you presently employed?                   0 NO               D YES (If yes, complete the information below)
     NAME, ADDRESS. AND TELEPHONE NO. OF YOUR EMPLOYER


     YOUR JOB TITLE OR POSITION


     NAME, ADDRESS OF EACH BOOKKEEPER, PAYROLL CLERK OR OTHER PERSON HAVING RECORDS OF SALARIES OR OTHER SUMS OF MONEY PAID TO YOU
     BY YOUR PRESENT EMPLOYER



     IF YOU RECEIVE ADDITIONAL COMPENSATION FOR OVERTIME, STATE (1) RATE OF OVERTIME PAY AND (2) THE AVERAGE NO. OF HOURS OF OVERTIME YOU
     WORK PER WEEK



     STATE THE DATE ON WHICH YOU ARE PAID FOR BOTH REGULAR AND OVERTIME WORK



      Are you receiving any income from any source not
□     disclosed in your answers to the foregoing questions?
                                                                             ONO             D YES (If yes, complete the infonnation below)
     STATE THE SOURCE(SJ OF SUCH INCOME                                                                         IAMOUNT RECEIVED EACH WEEK


     IF THERE ARE ANY PAYMENTS DUE FROM THE ABOVE SOURCE STATE (1) THE AMOUNT DUE AND (2) NAME AND ADDRESS OF PARTY FROM WHOM IT IS DUE




□     List all banks, savings and loan associations, credit unions or other financial institutions in which you maintain an account
      of any kind, giving in your answer the following : (You need only disclose assets clearly sufficient to ensure full satisfaction
      of the judgment with interest and costs.)
     NAME AND ADDRESS OF INSTITUTION                                             NAME AND ADDRESS OF INSTITUTION


     NAME IN WHICH ACCOUNT IS HELD                                               NAME IN WHICH ACCOUNT IS HELD


    ACCOUNT NO.                          I      -
                                          PRESENT BALANCE (SJ                    ACCOUNT NO.                         I PRESENT BALANCE (SJ


    IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON($)                    IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)




□     List all nonexempt personal property in which you have an interest, whether legal or beneficial. which in total value is clearly sufficient to
      ensure full satisfaction of the judgment with interest and costs, including but not limited to (a) cash on hand, (b) household goods and
      supplies and furnishings, (c) stamp and/or coin collections and other collections, (d) wearing apparel, (e) jeweiry, (f) watches, (g)
      automobiles, (h) trucks, (i) trailers or other motor vehicles, (j) boats, motors and accessories . As to each such item of property give the
      precise description and location, the approximate value of such property and whether or not such property is subject to any form of
      security interest, lien or encumbrance. If so, state tile name and address of such holder of a security interest, lien or encumbrance, the
      nature of the instrument evidencing the same and the amount of the instrument. (If additional space is necessary, attach a separate
      s/1eel to this form.)




□    State whether any of your nonexempt personal property is in the hands of a third person . If so, describe the property involved, the
     person or persons so holding the property, the reason the property is so held and any consideration that may have passed therefor.




JD-CV-23a (Page 1 or 2J Rev. G-2000                                                                                              www.jud.state. ct. us
                Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 28 of 46



  D List all real estate in your name which in total value is clearly sufficient to ensure full satisfaction of the judgment with
      interest and costs (where possible give street address).




 D List your accounts receivable which in total value are clearly sufficient to ensure full satisfaction of the judgment with
     interest and costs giving a) the name of the party, b) the amount owed , and c) the date the debt was incurred. (If additional
     space is needed, attach a separate sheet to this form.)




                                                               II. EMPLOYER
 D Is the Judgment Debtor employed by you?                0 NO              D YES (If yes, complete the information below)
    YOUR NAME, AOORESS, ANO TELEPHONE NO.


    EMPLOYEE'S NORMAL WORKING HOURS                                     I  EMPLOYEE'S GROSS SALARY PER HOUR, WEEK, MONTH, OR YEAR


    THE OATES ON WHICH EMPLOYEE IS PAID FOR BOTH .REGULAR AND OVERTIME WORK


    NAME, ADDRESS, AND TELEPHONE NO. OF THE BOOKKEEPER , PAYROLL CLERK OR OTHER PERSON WHO DISBURSES EMPLOYEE'S WAGES OR SALARY




                                                         Ill. FINANCIAL INSTITUTION
D Does the Judgment Debtor maintain an account of any kind with your institution?                  □ NO          □ YES
    (If yes, complete the information below. You may disclose only whether you hold funds of the judgment debtor on account and the
    balance of such funds if so held, up to the amount necessary to satisfy the judgment.)
   YOUR NAME, ADDRESS, AND TELEPHONE NO.


   NAME, ADDRESS, AND TELEPHONE NO. OF YOUR INSTITUTION


   ACCOUNT NO. OF EACH ACCOUNT                                         INAME IN WHICH THE ACCOUNT IS HELD


   PRESENT BALANCE IN EACH ACCOUNT


   IF JOINT ACCOUNT, THE NAME AND ADDRESS OF THE OTHER PERSON(S)



                             IV. THIRD PERSON IN POSSESSION OF JUDGMENT DEBTOR'S PROPERTY
[8] Are you in possession of nonexempt personal property belonging to the judgment debtor?                  D NO              0 YES
     (If yes, complete the following information.)                                         •
   YOUR NAME, ADDRESS, AND TELEPHONE NO.


   DESCRIBE THE PROPERTY, THE REASON YOU ARE HOLDING IT AND ANY CONSIDERATION THAT MAY HAVE PASSED FOR YOUR HOLDING THE PROPERTY .




   LOCATION OF THE PROPERTY



                         V. SIGNATURE OF PERSON COMPLETING THIS FORM OR AUTHORIZED AGENT
1K) NOTE: Interrogatories served on a judgment debtor shall be signed by such debtor under penalty of false statement.
   SIGNED (Person completing form or authorized agent)    PRINT NAME OF PERSON SIGNING AT LEFT                 DI\TE SIGNED



   JD-CV-23a (Page 2 of 2) Rov. G-2000
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    EXHIBIT 5
                     Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 30 of 46
8/6/24, 1:54 PM                                        USPS.com® - USPS Tracking® Results

         ALERT: FLOODING AND SEVERE WEATHER IN THE SOUTHEAST U.S. MAY IMPACT DELIVERY....


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    USPS Tracking®




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         Your item was delivered in or at the mailbox at 10:47 am on June 24, 2024 in WILMINGTON, DE 19801.



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   Track Another Package
                     Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 31 of 46

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POST JUDGMENT REMEDIES                                               STATE OF CONNECTICUT
INTERROGATORIES                                                         SUPERIOR COURT
JD-CV-23 Rev. 1 H 0                                                       www.jud.ct.gov
Gen. Slal. §§ 52-321a, 52-351b, 52-352b,
52-361a, 52-361b, 52-400a, 52-400c
                                                            Form JD-CV-23a must be attached to 'this form
                                           eographical                                                                       Docket number
       Judicial     □ Housing      □ Area
 IBJ   District       Session          number                   At   US District Court of Connecticut                        3:23-CV-00903-MPS
Address of court (Number, street, lawn, and zip code)
 450 Main Street, Suite A012 , Hartford, CT 06103
 Dale of judgment                                                    Original amount of judgment                             Amount due on lhe judgment
 04/25/2~24
Name of creditor (Person or business judgment is for)
                                                                      $2,152,787.36
                                                                     Address or judgment creditor (Street and town)
                                                                                                                           I $2,152,787.36
145 Sisson Avenue, LLC                                               91 South Main Street, Wallingford, CT 06492
Name of judgment deblor (Person or business judgment is against)     Address or judgment debtor (S/reef and lawn)
Aron Puretz                                                          43 Fenway Circle, Staten Island, NY 10308-1240
Name and address of person believed lo have assets of Judgmenl debtor (If apphcable)
Hoyt Bedford Manager LLC - Agent: VCORP SERVICES, LLC, 108 W.13th Street - Suite 100, Wilmington, DE 19801
Dale inlerrogalories were served (Delivered)    Name and address of person Iha! inlerrogalories musl be returned 10
06/18/2021-:i_~i;)                              Houston Putnam Lowry, Esq., 280 Trumbull Street, Floor 22, Hartford, CT 06103

Instructions To:
 Judgment Creditor:
 Put an 'X" in the box next to the questions to be answered on form JD-CV-23a that is al/ached to this form.
Person who received interrogatories:
Answer the questions indicated by an 'X" on form JD-CV-23a Iha/ is attached lo this form . You must give information that you have about the assets of the
judgment debtor up lo an amount clear enough lo satisfy the judgment indicated by the "Amount due on the judgment" above. Place your answers in the
 space provided on the form. If you need more space to answer the questions, use the space on the back of form JD-CV-23a or attach additional sheets to
this form.

Notice
Do not file the interrogatories, the notice of interrogatories or the objections to the interrogatories with the court.
The person who received these interrogatories must answer and return them within 30 days of the date of their service
(delivery) to the person named above.
If the person who received these interrogatories does not answer and return them within 30 days or does not within 30 days
disclose assets of the judgment debtor that are enough for execution, or if the person who received the interrogatories objects
within 30 days, the judgment creditor may ask the court for additional discovery orders that may be necessary to make sure
that disclosure is made including (1) an order for compliance with the interrogatories or (2) an order authorizing additional
interrogatories. The judgment creditor may ask for and get discovery, including the taking of depositions, from any person
served with interrogatories under the procedures for discovery in civil actions without the court ordering it. The court may
order additional discovery as justice requires. If the person asked for discovery does not disclose the judgment debtor's
assets, that person may be held in contempt of court. Attorney's fees may be allowed for counsel at a contempt hearing
necessary to enforce a court order and for counsel at any discovery hearing required because these interrogatories were not
answered.

Notice Of Rights To Person Served
1.     Under Section 52-351 b of the General Statutes, you must disclose information about the amount, nature and location of
       the judgment debtor's assets up to an amount clearly enough in value for full satisfaction of the judgment with interest and
       costs.
2.     Under subsection (d) of Section 52-351 b of the General Statutes, any party who must disclose information about the
       judgment debtor's assets may apply to the court to be protected from annoyance, embarrassment, oppression or undue
       burden or expense.
3. Certain personal property of the judgment debtor is exempt from execution (cannot be used to satisfy judgment). The
   following list is a description of common types of property that are exempt from execution from a judgment debtor who is
   a natural person. (Section 52-352b of the General Statutes).
       (a) Apparel, bedding, foodstuffs, household furniture and appliances that are needed by the judgment debtor to live;
       (b) Tools, books, instruments, farm animals and livestock feed that are needed by the judgment debtor in the course
           of his or her occupation, or profession, farming operation or farming partnership;
       (c) Public assistance payments and any wages earned by a public assistance recipient under an incentive earnings
           or similar program;
                                                                         (Continued 011 page 2)
                  Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 32 of 46




        (d) Health and disability insurance payments;
        (e) Health aids that are needed by the judgment debtor to work or to keep healthy;
        (f) VVorker's cornpensalion, social security, volercin~ 8nd ufie:nployrnent benefits;
        (g) Court approved payments for child support;
        (h) Arms (weapons) and military equipment, uniforms or musical instruments owned by any member of the militia or
              armed forces of the United States;
        (i) One motor vehicle worth up to $3,500.00. The value of the motor vehicle must be determined as the fair market
             value of the motor vehicle minus the amount of all liens and security interests which are on it;
        U) Wedding and engagement rings;
        (k) Residential utility deposits for one residence and one residential security deposit;
        (I) Any assets or interests of a judgment debtor in, or payments received by the judgment debtor from, a plan or
             arrangement described in Section 52-321a of the General Statutes, including, but not limited to, certain trust or
             retirement income or certain retirement, education, or medical savings accounts;
       (m) Alimony and support, other than child support, but only to the extent that wages are exempt from execution under
             Section 52-361a of the General Statutes;
       (n) An award under a crime reparations act;
       (o) All benefits allowed by any association of persons in this state to support any of its members that are
             incapacitated by sickness or infirmity from attending to his or her usual business;
       (p) All moneys that are owed to the judgment debtor from any insurance company on any insurance policy on
            exempt property, up to the same amount that the property was exempt;
       (q) Burial plot for the judgment debtor and his or her immediate family;
       (r) Transfers of money that cannot be taken back (revoked) to an account held by a debt adjuster licensed under
             Sections 36a-655 to 36a-665 of the General Statutes for the benefit of creditors of the judgment debtor;
       (s) Any interest of the judgment debtor in any property worth not more than $1,000.00;
       (t) Any interest of the judgment debtor worth not more than $4,000.00 in any accrued dividend or interest under, or
            loan value of, any unmatured life insurance contract owned by the judgment debtor under which the insured is
            the judgment debtor or is an individual who the judgment debtor is a dependent of; and
       (u) The homestead {home) of the judgment debtor worth not more than $75,000.00, or, in the case of a money
            judgment arising out of services provided at a hospital worth not more than $125,000.00, the value must be
            determined as the fair market value of the real property minus the amount of any statutory or agreed on
            (consensual) lien which is on the property.




JD-CV-23 Rev. 11-1 O (Page 2 of 2)
                  Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 33 of 46



                                                                       INSTRUCTIONS
  JUDGMENT CREDITOR: Complete Name of Case and Docket No., put an "X" in the box next to the items to be answered.
  PERSON SERVED WITH INTERROGATORIES: Answer the questions indicated by Ix) . You must disclose assels of the judgment debtor up lo an
  amount clearly sufficient to satisfy the judgment indicated by the "Amount Due Thereon" on lhe attached form JD-CV-23. Place answers in space provided on
. this form. If you need more room to answer the se questions, use the space on page 2 of attached form JD-CV-23 or a Ila ch additional sheets. You must
  answer the questions and return them to the person named on attached form JD-CV-23 within thirty days of the date of service.

  NAME OF CASE                                                                                                         DOCKET NO.
  145 Sisson Avenue, LLC vs . Aron Puretz                                                                              3:23CV903(MPS)

                                                                I. JUDGMENT DEBTOR
      STATE YOUR NAME, ADDRESS , AND TELEPHONE NO.

□
     '---------------------------------------------------'
D Are you presently employed?
                     0 NO  0 YES (If yes, complete the information below)
      NAME, ADDRESS , AND TELEPHONE NO. OF YOUR EMPLOYER


      YOUR JOB TITLE OR POSITION


     NAME , ADDRESS OF EACH BOOKKEEPER, PAYROLL CLERK OR OTHER PERSON HAVING RECORDS OF SALARIES OR OTHER SUMS OF MONEY PAID TO YOU
     BY YOUR PRESENT EMPLOYER



     IF YOU RECEIVE ADDITIONAL COMPENSATION FOR OVERTIME, STATE (1) RATE OF OVERTIME PAY AND (2) THE AVERAGE NO. OF HOURS OF OVERTIME YOU
     WORK PER WEEK



     STATE THE DATE ON WHICH YOU ARE PAID FOR BOTH REGULAR AND OVERTIME WORK



      Are you receiving any income from any source not                                       D YES (If yes, complete the information below)
□     disclosed in your answers to the foregoing questions?
                                                                             ONO

     STATE THE SOURCE(S) OF SUCH INCOME                                                                          IAMOUNT RECEIVED EACH WEEK


     IF THERE ARE ANY PAYMENTS DUE FROM THE ABOVE SOURCE STATE (1) THE AMOUNT DUE AND (2) NAME AND ADDRESS OF PARTY FROM WHOM IT IS DUE




□     List all banks, savings and loan associations, credit unions or other financial institutions in which you maintain an account
      of any kind , giving in your answer the following : (You need only disclose assets clearly sufficient to ensure full satisfaction
      of the judgment with interest and costs.)
     NAME AND ADDRESS OF INSTITUTION                                              NAME AND ADDRESS OF INSTITUTION


     NAME IN WHICH ACCOUNT IS HELD                                                NAME IN WHICH ACCOUNT IS HELD


     ACCOUNT NO.                          I      ,
                                           PRESENT BALANCE (S)                    ACCOUNT NO.                         I PRESENT BALANCE (S)


     IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)                    IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)




□     List all nonexempt personal property in which you have an interest, whether legal or beneficial, which in total value is clearly sufficient to
      ensure full satisfaction of the judgment with interest and costs, including but not limited to (a) cash on hand, (b) household goods and
      supplies and furnishings, (c) stamp and/or coin collections and other collections, (d) wearing apparel, (e) jewelry, (f) watches, (g)
      automobiles, (h) trucks, (i) trailers or other motor vehicles, U) boats, motors and accessories. As to each such item of property give the
      precise description and location, the approximate value of such property and whether or not such property is subject to any form of
      security interest, lien or encumbrance. If so, state the name and address of such holder of a security interest, lien or encumbrance, the
      nature of the instru!Jlent evidencing the same and the amount of the instrument. (If additional space is necessary, attach a separate
      sheet to this form.)




□     State whether any of your nonexempt personal property is in the hands of a third person. If so, describe the property involved, the
      person or persons so holding the property, the reason the property is so held and any consideration that may have passed therefor.




JD-CV-23a (Page 1 of 2) Rev. G- 2000                                                                                              www.jud.state.ct.us
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 D List all real estate in your name which in total value is clearly sufficient to ensure full satisfaction of the judgment with
     interest and costs (where possible give street address).




 D List your accounts receivable which in total value are clearly sufficient to ensure full satisfaction of the judgment with
     interest and costs giving a) the name of the party, b) the amount owed, and c) the date the debt was incurred. (If additional
     space is needed, a/lach a separate sheet to this form.)




                                                               II. EMPLOYER
 D Is the Judgment Debtor employed by you?                 D NO             D YES (If yes, complete the information below)
    YOUR NAME, ADDRESS, AND TELEPHONE NO .


    EMPLOYEE'S NORM/IL WORKING HOURS                                    IEMPLOYEE'S GROSS SAL/\RY PER HOUR, WEEK, MONTH, OR YEAR


    THE DATES ON WHICH EMPLOYEE IS PAIO FOR BOTH .REGULAR ANO OVERTIME WORK


    NAME, ADDRESS, AND TELEPHONE NO. OF THE BOOKKEEPER , PAYROLL CLERK OR OTHER PERSON WHO DISBURSES EMPLOYEE'S WAGES OR SAL/\RY




                                                         Ill. FINANCIAL INSTITUTION
D Does the Judgment Debtor maintain an account of any kind with your institution?                 D NO          □ YES
    (If yes, complete the information below. You may disclose only whether you hold funds of the judgment debtor on account and tho
    balance of suc/1 funds if so held, up lo the amount necessary lo satisfy /lie judgment.)
   YOUR NAME, ADDRESS, ANO TELEPHONE NO.


   NAME , ADDRESS, AND TELEPHONE NO. OF YOUR INSTITUTION


   ACCOUNT NO. OF EACH ACCOUNT                                         INAME IN WHICH THE ACCOUNT IS HELO


   PRESENT BALANCE IN EACH ACCOUNT


   IF JOINT ACCOUNT, THE NAME AND ADDRESS OF THE OTHER PERSON(S)



                             IV. THIRD PERSON IN POSSESSION OF JUDGMENT DEBTOR'S PROPERTY
18] Are you in possession of nonexempt personal property belonging to the judgment debtor?                  D NO              0 YES
     (If yes, complete the following information.)                                        •
   YOUR NAME, ADDRESS , ANO TELEPHONE NO .


   DESCRIBE THE PROPERTY, THE REASON YOU ARE HOLDING IT AND ANY CONSIDERATION TH/IT MAY HAVE PASSED FOR YOUR HOLDING THE PROPERTY .




   LOCATION OF THE PROPERTY



                         V. SIGNATURE OF PERSON COMPLETING THIS FORM OR AUTHORIZED AGENT
[x] NOTE: Interrogatories served on a judgment debtor shall be signed by such debtor under penally of false statement.
   SIGNED (Person completing form or authorized agent)    PRINT NAME OF PERSON SIGNING AT LEFT                01.\TE SIGNED



   JD-CV-23a (Page 2 or 2) Rev. G-2000
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    EXHIBIT 6
                                      Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 36 of 46




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                                                                                                                  PAXE GARDEN GP LLC
                                                                                                                  Agent: David Helfgott
                                                                                                                  36 Airport Road
                                                                                                                  Lakewood, NJ 08701


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                    Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 37 of 46

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POST JUDGMENT REMEDIES                                                 STATE OF CONNECTICUT
INTERROGATORIES                                                           SUPERIOR COURT
JD-CV-23 Rev. 11-10                                                         www.Jud.ct.gov
Gen. Stal.§§ 52-321a, 52-351b, 52-352b,
52-361a, 52-361b, 52-400a, 52-400c
                                                              Form JD-CV-23a must be attached to this form
      . .               H ..            Geographical                                                                         Docket -number
   JudIcIa 1             ousIng         Area
 @ District         D   Session     D   number                    Al   US District Court of Connecticut                      3:23-CV-00903-MPS
 Address or court (Number, street, town, and zip code)
 450 Main Street, Suite A012, Hartford, CT 06103
 Dale of judgment                                                      Original amount or judgment                          Amount due on the judgmenl
 04/25/2024
 Name or creditor (Person or business judgment is for)
                                                                        $2,152,787 ,36
                                                                       Address of judgment creditor (Street and town)
                                                                                                                            I   $2,152,787.36

 145 Sisson Avenue, LLC                                                91 South Main Street, Wallingford, CT 06492
 Name of judgment debtor (Person or business judgment is against)      Address or judgment debtor (Street and town)
 Aron Puretz                                                           43 Fenway Circle, Staten Island, NY 10308-1240
 Name and address or person believed lo have ass els or judgment debtor (ff applicable)
 PAXE Garden GP LLC - Agent: David Helfgott, 36 Airport Road, Lakewood, NJ 08701
 Dale interrogatories were served (Delivered)    Name and address or person that interrogatories must be returned to
06/18/202~'fvi                                   Houston Putnam Lowry, Esq., 280 Trumbull Street, Floor 22, Hartford, CT 06103

Instructions To:
Judgment Creditor:
 Put an "X" in the box next to the questions to be answered on form JD-CV-23a that is attached to this form.
 Person who received interrogatories :
Answer the questions indicated by an 'X" on form JO-CV-23a that is attached to this fomi. You must give information that you have about the assets of the
judgment debtor up to an amount clear enough to satisfy the judgment indicated by the "Amount due on the judgment" above. Place your answers in the
space provided on the form. If you need more space to answer the questions, use the space on the back of form JD-CV-23a or attach additional sheets to
this form.

Notice
Do not file the interrogatories, the notice of interrogatories or the objections to the interrogatories with the court.
The person who received these interrogatories must answer and return them within 30 days of the date of their service
(delivery) to the person named above.
If the person who received these interrogatories does not answer and return them within 30 days or does not within 30 days
disclose assets of the judgment debtor that are enough for execution, or if the person who received the interrogatories objects
within 30 days, the judgment creditor may ask the court for additional discovery orders that may be necessary to make sure
that disclosure is made including (1) an order for compliance with the interrogatories or (2) an order authorizing additional
interrogatories. The judgment creditor may ask for and get discovery, including the taking of depositions, from any person
served with interrogatories under the procedures for discovery in civil actions without the court ordering it. The court may
order additional discovery as justice requires . If the person asked for discovery does not disclose the judgment debtor's
assets, that person may be held in contempt of court. Attorney's fees may be allowed for counsel at a contempt hearing
necessary to enforce a court order and for counsel at any discovery hearing required because these interrogatories were not
answered.

Notice Of Rights To Person Served
1.   Under Section 52-351 b of the General Statutes, you must disclose information about the amount, nature and location of
     the judgment debtor's assets up to an amount clearly enough in value for full satisfaction of the judgment with interest and
     costs.
2. Under subsection (d) of Section 52-351 b of the General Statutes, any party who must disclose information about the
   judgment debtor's assets may apply to the court to be protected from annoyance, embarrassment, oppression or undue
   burden or expense.
3.   Certain personal property of the judgment debtor is exempt from execution (cannot be used to satisfy judgment). The
     following list is a description of common types of property that are exempt from execution from a judgment debtor who is
     a natural person. (Section 52-352b of the General Statutes).
     (a) Apparel, bedding, foodstuffs, household furniture and appliances that are needed by the judgment debtor to live;
     (b) Tools, books, instruments, farm animals and livestock feed that are needed by the judgment debtor in the course
         of his or her occupation, or profession, farming operation or farming partnership;
     (c) Public assistance payments and any wages earned by a public assistance recipient under an incentive earnings
         or similar program;
                                                                          (Co11ti11ued on page 2)
                 Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 38 of 46




       (d) Health and disability insurance payments;
       (e) Health aids that are needed by the judgment debtor to work or to keep healthy;
       {f) V·Joiker's corr:pensation, sotia! securlt}', \leterans and unernp!oyrnenl benerils;·
       (g) Court approved payments for child support;
       (h) Arms (weapons) and military equipment, uniforms or musical instruments owned by any member of the militia or
            armed forces of the United States;
       (i) One motor vehicle worth up to $3,500.00. The value of the motor vehicle must be determined as the fair market
            value of the motor vehicle minus the amount of all liens and security interests which are on it;
       U) Wedding and engagement rings;
       {k) Residential utility deposits for one residence and one residential security deposit;
      {I) Any assets or interests of a judgment debtor in, or payments received by the judgment debtor from, a plan or
            arrangement described in Section 52-321a of the General Statutes, including, but not limited to, certain trust or
            retirement income or certain retirement, education, or medical savings accounts;
      (m) Alimony and support, other than child support, but only to the extent that wages are exempt from execution under
            Section 52-361a of the General Statutes;
      (n) An award under a crime reparations act;
      (o) All benefits allowed by any association of persons in this state to support any of its members that are
            incapacitated by sickness or infirmity from attending to his or her usual business;
      (p) All moneys that are owed to the judgment debtor from any insurance company on any insurance policy on
           exempt property, up to the same amount that the property was exempt;
      (q) Burial plot for the judgment debtor and his or her immediate family;
      (r) Transfers of money that cannot be taken back (revoked) to an account held by a debt adjuster licensed under
           Sections 36a-655 to 36a-665 of the General Statutes for the benefit of creditors of the judgment debtor;
      (s) Any interest of the judgment debtor in any property worth not more than $1,000.00;
      (t) Any interest of the judgment debtor worth not more than $4,000.00 in any accrued dividend or interest under, or
           loan value of, any unmatured life insurance contract owned by the judgment debtor under which the insured is
           the judgment debtor or is an individual who the judgment debtor is a dependent of; and
      (u) The homestead (home) of the judgment debtor worth not more than $75,000.00, or, in the case of a money
           judgment arising out of services provided at a hospital worth not more than $125,000.00, the value must be
           determined as the fair market value of the real property minus the amount of any statutory or agreed on
           (consensual) lien which is on the property.




JD-CV-23 Rev. 11-10 (Page 2 o/ 2)
                    Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 39 of 46



                                                                      INSTRUCTIONS
 JUDGMENT CREDITOR: Complete Name of Case and Docket No., put an "X" in the box next to the items to be answered.
 PERSON SERVED WITH INTERROGATORIES : Answer lhe questions indicated by 1K] . You must disclose assets of the judgment debtor up lo an
 amount clearly sufficient to satisfy the judgment indicated by the "Amount Due Thereon" on the attached form JD-CV-23. Place answers in space provided on
 this form.- lf you need more room to answer these questions, use the space on page 2 of attached form JD-CV-23 or altach addilional •sheels. You must
 answer the questions and return them to the person named on altached form JD-CV-23 within thirty days of the date of service.

 NAME OF CASE                                                                                                         DOCKET NO.
  145 Sisson Avenue, LLC vs. Aron Puretz                                                                              3 : 23CV903(MPS)

                                                               I. JUDGMENT DEBTOR
      STATE YOUR NAME, ADDRESS, AND TELEPHONE NO .

□
    ~-------------------------------------- ---------~
O Are you presently employed?                   0 NO               0 YES (If yes, complete the information below)
     NAME, ADDRESS, AND TELEPHONE NO. OF YOUR EMPLOYER


     YOUR JOB TITLE OR POSITION


     NAME, ADDRESS OF EACH BOOKKEEPER, PAYROLL CLERK OR OTHER PERSON HAVING RECORDS OF SALARIES OR OTHER SUMS OF MONEY PAID TO YOU
     BY YOUR PRESENT EMPLOYER



     IF YOU RECEIVE ADDITIONAL COMPENSATION FOR OVERTIME, STATE (1) RATE OF OVERTIME PAY AND (2) THE AVERAGE NO. OF HOURS OF OVERTIME YOU
     WORK PER WEEK



     STATE THE DATE ON WHICH YOU ARE PAID FOR BOTH REGULAR AND OVERTIME WORK



      Are you receiving any income from any source not
□     disclosed in your answers to the foregoing questions?
                                                                             ONO             0 YES (If yes, complete the information below)
     STATE THE SOURCE($) OF SUCH INCOME                                                                         IAMOUNT RECEIVED EACH WEEK


     IF THERE ARE ANY PAYMENTS DUE FROM THE ABOVE SOURCE STATE (1) THE AMOUNT DUE AND (2) NAME AND ADDRESS OF PARTY FROM WHOM IT IS DUE




□     List all banks, savings and loan associations, credit unions or other financial institutions in which you maintain an account
      of any kind, giving in your answer the following : (You need only disclose assets clearly sufficient to ensure full satisfaction
      of ~he judgment with interest and costs.)
     NAME AND ADDRESS OF INSTITUTION                                             NAME AND ADDRESS OF INSTITUTION
               ·-
     NAME IN WHICH ACCOUNT IS HELD                                               NAME IN WHICH ACCOUNT IS HELD
                                                ,
    ACCOUNT NO.                          IPRESENT BALANCE (SJ                    ACCOUNT NO .                         IPRESENT BALANCE (SJ


    IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)                    IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)




□     List all nonexempt personal property in which you have an interest, whether legal or beneficial, which in total value is clearly sufficient to
      ensure full satisfaction of the judgment with interest and costs, including but not limited to (a) cash on hand, (b) household goods and
      supplies and furnishings, (c) stamp and/or coin collections and other collections, {d) wearing apparel, (e) jeweiry, (I) watches, (g)
      automobiles, (h) trucks, (i) trailers or other motor vehicles, (j) boats, motors and accessories . As to each such item of property give the
      precise description and location, the approximate value of such property and whether or not such property is subject to any form of
      security interest, lien or encumbrance. If so, state the name and address of such holder of a security interest, lien or encumbrance, the
      nature of the instrument evidencing the same and the amount of the instrument. (If additional space is necessary, a//ach a separate
      sheet lo this form.)




□    State whether any of your nonexempt personal property is in the hands of a third person. If so, describe the property involved , the
     person or persons so holding the property, the reason the property is so held and any consideration that may have passed therefor.




JO-CV-23a (Page 1 or 2) Rev. G-2000                                                                                              www.jud.stale.cf. us
                Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 40 of 46



 D List all real estate in your name which in total value is clearly sufficient to ensure full satisfaction of the judgment with
     interest and costs (where possible give street address).




 D List your accounts receivable which in total value are clearly sufficient to ensure full satisfaction of the judgment with
     interest and costs giving a) the name of the party, b) the amount owed, and c) the date the debt was incurred. (If additional
     space is needed, attach a separate sheet to this form.)




                                                               II. EMPLOYER
 D Is the Judgment Debtor employed by you?                D NO              D YES (If yes, complete the information below)
    YOUR NAME, ADDRESS, AND TELEPHONE NO,


    EMPLOYEE'S NORMAL WORKING HOURS                                     I  EMPLOYEE'S GROSS SALARY PER HOUR, WEEK, MONTH, OR YEAR


    THE DATES ON WHICH EMPLOYEE IS PAID FOR BOTH .REGULAR AND OVERTIME WORK


    NAME, ADDRESS, AND TELEPHONE NO, OF THE BOOl<KEEPER, PAYROLL CLERK OR OTHER PERSON WHO DISBURSES EMPLOYEE'S WAGES OR SALARY




                                                         Ill. FINANCIAL INSTITUTION
D Does the Judgment Debtor maintain an account of any kind with your institution?                  D NO          □ YES
    (If yes, complete the information below. You may disclose only whether you hold funds of the judgment debtor on account and the
    balance of such funds if so held, up to the amount necessary lo satisfy the judgment.)
   YOUR NAME, ADDRESS. AND TELEPHONE NO.


   NAME, ADDRESS, AND TELEPHONE NO. OF YOUR INSTITUTION


   ACCOUNT NO. OF EACH ACCOUNT                                         INAME IN WHICH THE ACCOUNT IS HELD


   PRESENT BALANCE IN EACH ACCOUNT


   IF JOINT ACCOUNT, THE NAME AND ADDRESS OF THE OTHER PERSON(S)



                               IV. THIRD PERSON IN POSSESSION OF JUDGMENT DEBTOR'S PROPERTY
[gJ Are you in possession of nonexempt personal property belonging to the judgment debtor?                  O NO                0 YES
     (If yes, complete the following information.)
   YOUR NAME , ADDRESS, AND TELEPHONE NO.


   DESCRIBE THE PROPERTY, THE REASON YOU ARE HOLDING IT AND ANY CONSIDERATION THAT MAY HAVE PASSED FOR YOUR HOLDING THE PROPERTY .




   LOCATION OF THE PROPERTY



                          V. SIGNATURE OF PERSON COMPLETING THIS FORM OR AUTHORIZED AGENT
[Kl NOTE: Interrogatories served on a judgment debtor shall be signed by such debtor under penalty of false statement.
   SIGNED (Person comp/o/ing form or authorized agent)    PRINT NAME OF PERSON SIGNING AT LEFT                 Dl'.ITE SIGNED



   JD -CV-23" (P,,ge 2 of 2) Rev. G-2000
Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 41 of 46




    EXHIBIT 7
                     Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 42 of 46
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                     Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 43 of 46

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POST JUDGMENT REMEDIES                                              STATE OF CONNECTICUT
INTERROGATORIES                                                        SUPERIOR COURT
JD-CV-23 Rev. 11 -10                                                     www.jud.ct.gov
Gen. Stal. §§ 52-321 a, 52-351 b, 52-352b,
52-361a, 52-361b, 52-400a , 52-400c
                                                            Form JD-CV-23a must be attached to this form
        . .                .            Geographical                                                                        Docket number
     Jud1cIal          Housing          Area
 [R] District       D Session D number                          Al US District Court of Connecticut                         3:23-CV-00903 -MPS
Address or court (Number, street, town, and zip code)
 450 Main Street, Suite A012, Hartford, CT 06103
 Dale of judgment                                                    Original amount of judgment                            Amount due on th e judgmenl
 04/25/2024
Name of creditor (Person or business judgment is for)
                                                                      $2,152,787.36
                                                                     Addres s of judgment creditor (Street and town)
                                                                                                                           I   $2,152,787.36

 145 Sisson Avenue, LLC                                              91 South Main Street, Wallingford, CT 06492
Name of Judgment debtor (Person or business judgment is against)     Address of judgment debtor (Street and to wn)
Aron Puretz                                                          43 Fenway Circle, Staten Island, NY 10308-1240
Name and address of person believed lo have assels or Judgment debtor (If applicable)
PAXE Garden Limited Partnership - Agent: Riverside Filings LLC, 28 Crystal Street, Wethersfield, CT 06109
Dale inlerrogalories were served (Delivered)    Name and address of person that interrogatories must be returned to
06/18/2021:.v                                   Houston Putnam Lowry, Esq ., 280 Trumbull Street, Floor 22, Hartford, CT 06103

Instructions To:
 Judgment Creditor:
 Put an 'X" in the box next to the questions to be answered on form JD-CV-23a that is atlached lo this form .
 Person who received interrogatories:
Answer the questions indicated by an 'X" on form JD-CV-23a that is attached to this form. You must give information that you have about the assets of the
judgment debtor up to an amount clear enough to satisfy the judgment indicated by the "Amount due on the judgment ;, above . Place your answers in the
 space provided on the form. If you need more space to answer the questions, use the space on the back of form JD-CV-23a or attach additional sheets to
this form .

Notice
Do not file the interrogatories, the notice of interrogatories or the objections to the interrogatories with the court.
The person who received these interrogatories must answer and return them within 30 days of the date of their service
(delivery) to the person named above.
If the person who received these interrogatories does not answer and return them within 30 days or does not within 30 days
disclose assets of the judgment debtor that are enough for execution , or if the person who received the interrogatories objects
within 30 days, the judgment creditor may ask the court for additional discovery orders that may be necessary to make sure
that disclosure is made including (1) an order for compliance with the interrogatories or (2) an order authorizing additional
interrogatories. The judgment creditor may ask for and get discovery, including the taking of depositions, from any person
served with interrogatories under the procedures for discovery in civil actions without the court ordering it. The court may
order additional discovery as justice requ ires. If the person asked for discovery does not disclose the judgment debtor's
assets, that person may be held in contempt of court. Attorney's fees may be allowed for counsel at a contempt hearing
necessary to enforce a court order and for counsel at any discovery hearing required because these interrogatories were not
answered.

Notice Of Rights To Person Served
1. Under Section 52-351 b of the General Statutes, you must disclose information about the amount, nature and location of
   the judgment debtor's assets up to an amount clearly enough in value for full satisfaction of the judgment with interest and
   costs.
2. Under subsection (d) of Section 52-351 b of the General Statutes, any party who must disclose information about the
   judgment debtor's assets may apply to the court to be protected from annoyance, embarrassment, oppression or undue
   burden or expense.
3. Certain personal property of the judgment debtor is exempt from execution (cannot be used to satisfy judgment) . The
   following list is a description of common types of property that are exempt from execution from a judgment debtor who is
   a natural person . (Section 52-352b of the General Statutes) .
     (a) Apparel, bedding, foodstuffs , household furniture and appliances that are needed by the judgment debtor to live;
     (b) Tools, books, instruments, farm animals and livestock feed that are needed by the judgment debtor in the course
         of his or her occupation, or profession, farming operation or farming partnership;
     (c) Public assistance payments and any wages earned by a public assistance recipient under an incentive earnings
         or similar program;
                                                                         (Continued 011 page 2)
                  Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 44 of 46




        (d) Health and disability insurance payments;
        (e) Health aids that are needed by the judgment debtor to work or to keep healthy;
        (fj Worker's compensation, social security, veterans and unernployrnent benefits;
        (g) Court approved payments for child support;
        (h) Arms (weapons) and military equipment, uniforms or musical instruments owned by any member of the militia or
             armed forces of the United States;
        (i) One motor vehicle worth up to $3,500.00. The value of the motor vehicle must be determined as the fair market
             value of the motor vehicle minus the amount of all liens and security interests which are on it;
        (j) Wedding and engagement rings;
       (k) Residential utility deposits for one residence and one residential security deposit;
       (I) Any assets or interests of a judgment debtor in, or payments received by the judgment debtor from, a plan or
             arrangement described in Section 52-321a of the General Statutes, including, but not limited to, certain trust or
             retirement income or certain retirement, education, or medical savings accounts;
       (m) Alimony and support, other than child support, but only to the extent that wages are exempt from execution under
             Section 52-361a of the General Statutes;
       (n) An award under a crime reparations act;
       (o) All benefits allowed by any association of persons in this state to support any of its members that are
             incapacitated by sickness or infirmity from attending to his or her usual business;
       (p) All moneys that are owed to the judgment debtor from any insurance company on any insurance policy on
             exempt property, up to the same amount that the property was exempt;
       (q) Burial plot for the judgment debtor and his or her immediate family;
       (r) Transfers of money that cannot be taken back (revoked) to an account held by a debt adjuster licensed under
             Sections 36a-655 to 36a-665 of the General Statutes for the benefit of creditors of the judgment debtor;
       {s) Any interest of the judgment debtor in any property worth not more than $1,000.00;
       (t) Any interest of the judgment debtor worth not more than $4,000.00 in any accrued dividend or interest under, or
            loan value of, any unmatured life insurance contract owned by the judgment debtor under which the insured is
            the judgment debtor or is an individual who the judgment debtor is a dependent of; and
       (u) The homestead (home) of the judgment debtor worth not more than $75,000.00, or, in the case of a money
            judgment arising out of services provided at a hospital worth not more than $125,000.00, the value must be
            determined as the fair market value of the real property minus the amount of any statutory or agreed on
            (consensual) lien which is on the property.




JD-CV-23 Rev. 11-1 O (Page 2 of 2)
                   Case 3:23-cv-00903-MPS Document 67 Filed 08/12/24 Page 45 of 46



                                                                      INSTRUCTIONS
 JUDGMENT CREDITOR: Complete Name of Case and Docket No., put an "X" in the box next lo the items lo be answered .
 PERSON SERVED WITH INTERROGATORIES: Answer the questions indicated by [Kl . You must disclose assets of the judgment debtor up lo an
 amount clearly sufficient lo satisfy the judgment indicated by the "Amount Due Thereon" on the attached form JD-CV-23 . Place answers in space provided on
 this form . If you need more room to answer these questions, use the space on page 2. of allacl1ed form JD-CV-23 or allach additional sheels. You must
 answer the questions and return !hem to the person named on attached form JD-CV-23 wilhin thirty days of the dale of service.

    NAME OF CASE                                                                                                       DOCKET NO.
    145 Sisson Avenue, LLC vs. Aron Puretz                                                                             3:23CV903(MPS)

                                                                I. JUDGMENT DEBTOR
       STATE YOUR NAME, ADDRESS, AND TELEPHONE NO.

 □

D Are you presently employed?                   0 NO                D YES (If yes, complete the information below)
      NAME , ADDRESS, AND TELEPHONE NO. OF YOUR EMPLOYER


      YOUR JOB TITLE OR POSITION


      NAME, ADDRESS OF EACH BOOKl<EEPER, PAYROLL CLERK OR OTHER PERSON HAVING RECORDS OF SALARIES OR OTHER SUMS OF MONEY PAID TO YOU
      BY YOUR PRESENT EMPLOYER



      IF YOU RECEIVE ADDITIONAL COMPENSATION FOR OVERTIME, STATE (1J RATE OF OVERTIME PAY AND (2J THE AVERAGE NO. OF HOURS OF OVERTIME YOU
      WORK PER WEEK



      STATE THE DATE ON WHICH YOU ARE PAID FOR BOTH REGULAR AND OVERTIME WORK



       Are you receiving any income from any source not
D      disclosed in your answers to the foregoing questions?
                                                                             ONO             0 YES (If yes, complete the information below)
      STATE THE SOURCE(SJ OF SUCH INCOME                                                                         IAMOUNT RECEIVED EACH WEEI<


      IF THERE ARE ANY PAYMENTS DUE FROM THE ABOVE SOURCE STATE (1J THE AMOUNT DUE AND (2J NAME AND ADDRESS OF PARTY FROM WHOM IT IS DUE




D      List all banks , savings and loan associations, credit unions or other financial institutions in which you maintain an account
       of any kind, giving in your answer the following : (You need only disclose assets clearly sufficient to ensure full satisfaction
       of the judgment with interest and costs.)
      NAME AND ADDRESS OF INSTITUTION                                             NAME AND ADDRESS OF INSTITUTION


      NAME IN WHICH ACCOUNT IS HELD                                               NAME IN WHICH ACCOUNT IS HELD


      ACCOUNT NO.                        I      ,
                                          PRESENT BALANCE (SJ                     ACCOUNT ND.                         IPRESENT BALANCE (SJ


      IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)                   IF JOINT ACCOUNT GIVE NAME AND ADDRESS OF OTHER PERSON(S)




□     List all nonexempt personal property in which you have an interest, whether legal or beneficial, which in total value is clearly sufficient to
      ensure full satisfaction of the judgment with interest and costs, including but not limited to (a) cash on hand, (b) household goods and
      supplies and furnishings, (c) stamp and/or coin collections and other collections, (d) wearing apparel, (e) jeweiry, (Q watches, (g)
      automobiles. (h) trucks, (i) trailers or other motor vehicles, (j) boats, motors and accessories. As to each such item of property give the
      precise description and location, the approximate value of such property and whether or not such property is subject to any form of
      security interest, lien or encumbrance . If so, state the name and address of such holder of a security interest, lien or encumbrance, the
      nature of the instrument evidencing the same and the amount of the instrument. (If additional space is necessary, atlach a separate
      sheet lo /his form.)




□     State whether any of your nonexempt personal property is in the hands of a third person . II so, describe the property involved, the
      person or persons so holding the property, the reason the property is so held and any consideration that may have passed therefor.




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 D List all real estate in your name which in total value is clearly sufficient to ensure full satisfaction of the judgment with
      interest and costs (where possible give street address).




 D List your accounts receivable which in total value are clearly sufficient to ensure full satisfaction of the judgment with
      interest and costs giving a) the name of the party, b) the amount owed, and c) the date the debt was incurred. (If additional
      space is needed, attach a separate sheet lo this form.)




                                                                II. EMPLOYER
 D Is the Judgment Debtor employed by you?                 0 NO              O YES (If yes, complete the information below)
     YOUR NAME, ADDRESS , AND TELEPHONE NO.


    EMPLOYEE'S NORMAL WORKING HOURS                                      IEMPLOYEE'S GROSS SALARY PER HOUR, WEEK, MONTH, OR YEAR


    THE DATES ON WHICH EMPLOYEE IS PAID FOR BOTH .REGULAR AND OVERTIME WORK


     NAME, AD~RESS, AND TELEPHONE NO . OF THE BOOKl<EEPER, PAYROLL CLERK OR OTHER PERSON WHO DISBURSES EMPLOYEE'S WAGES OR SALARY




                                               Ill. FINANCIAL INSTITUTION
0     Does the Judgment Debtor maintain an account of any kind with your institution?                  0 NO      □ YES
     (If yes, complete the information below. You may disclose only whether you hold funds of the judgment debtor on account and the
     balance of such funds if so held, up lo the amount necessary to satisfy /he judgment.)
    YOUR NAME, ADDRESS, AND TELEPHONE NO.                                                         •·



    NAME, ADDRESS, AND TELEPHONE NO. OF YOUR INSTITUTION


    ACCOUNT NO. OF EACH ACCOUNT                                         INAME IN WHICH THE ACCOUNT IS HELO


    PRESENT BALANCE IN EACH ACCOUNT


    IF JOINT ['CC OU NT. THE NAME AND ADDRESS OF THE OTHER PERSON(S)



                               IV. THIRD PERSON IN POSSESSION OF JUDGMENT DEBTOR'S PROPERTY
[8] Are you in possession of nonexempt personal property belonging to the judgment debtor?                    O NO              0 YES
      (If yes, complete l/1e following info,mation.)                                       •
    YOUR NAME, ADDRESS , AND TELEPHONE NO .


    DESCRIBE THE PROPERTY , THE REASON YOU ARE HOLDING IT AND ANY CONSIDERATION THAT MAY HAVE PASSED FOR YOUR HOLDING THE PROPERTY .




    LOCATION OF THE PROPERTY



                           V. SIGNATURE OF PERSON COMPLETING THIS FORM OR AUTHORIZED AGENT
[K) NOTE: Interrogatories served on a judgment debtor shall be signed by such debtor under penalty of false statement.
    SIGNED (Person comp/cling form or au/llorized agonl)   PRINT NAME OF PERSON SIGNING AT LEFT                 OP,.TE SIGNED



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